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EXHIBIT A

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS
IN RE: PHARMACEUTICAL )
INDUSTRY AVERAGE WHOLESALE ) MDL NO. 1456
PRICE LITIGATION ) CIVIL ACTION:
THIS DOCUMENT RELATES TO ) O1-CV-12257-PBS
U.S. ex rel. Ven-A-Care of ) Judge Patti B. Saris
the Florida Keys, Inc. v. )
Abbott Laboratories Inc., ) Chief Magistrate Judge

No. 07-CV-11618-PBS }) Marianne B. Bowler

VIDEOTAPED 30(b) (6) DEPOSITION OF
JOHN M. LOCKWOOD, M.D.
Volume I
(Taken by Defendant Abbott Laboratories Inc.)

April 23, 2009
9:27 a.m.
Suite 800

1420 Peachtree Street, N.E.
Atlanta, Georgia
Reported by: F. Renee Finkley, RPR, CRR, CLR,

CCR~B-2289

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Q. And before that, when there were just
paper catalogs, could you -- for example, could you
go to a trade show and get the McKesson catalog?

A. Well, you could talk to the McKesson rep
at a trade show and they would send you one,
certainly. Yes. I mean, it's -- you had to be --
they didn't hand them cut to just anybody. You had
to be a qualified purchaser and meet the requirements
of being a qualified purchaser. And you typically
had to give them your information or they had to have
your information, your DEA number, phone number,
address, who your pharmacist was, those sorts of
things. I, you know --

Q. Could I have called up -- I mean, I know
this calls for a bit of speculation, but based on
your understanding of the circumstances and
requirements, could I have called up McKesson and
gotten a catalog?

A. Only if you were willing to represent that
you were a licensed pharmacy illegally and send them
your false DEA number and -- and misrepresent

yourself; otherwise, as I said -- I think I just

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testified to ~- you would have to be a -- I guess I'm
looking for the right word, but a qualified
purchaser, that you had to be a pharmacy with, you
know, an address and all of those things.

And the McKesson rep usually came to Key
West as I think I recall about once a month,
ballpark. They'd walk by our office. They knew we
were there and where we were. But no, you as an
attorney, if you don't have a pharmacy license and
all the other things that go along with that, you
could not get the catalog.

Q. And at some point you provided a -- I may

be confusing programs. I apologize if I am. But did

you provide a copy of Econolink to the federal

government?
A. Yes, sir, we did.
Q. When did you do that?
A, I may want to recheck the date, but.it was

either January 18th, 2001 or January 19th, 2001. We
were in Boston doing a presentation to them and
that's when we gave it to them. Yeah.

Q. And did you seek McKesson's permission to

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